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  AO 245B­CAED(Rev. 09/2011) Sheet 1 ­ Amended Judgment in a Criminal Case            (NOTE: Identify Changes with Asterisks*)



                                UNITED STATES DISTRICT COURT
                                                     Eastern District of California
                   UNITED STATES OF AMERICA                                         AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                    (For Offenses Committed On or After November 1, 1987)
                              v.
                     CHARLOTTE MILLER                                               Case Number: 1:14CR00103­005
       AKA: Charlotte Victoria Miller, Charlotte Duncan, Charlotte                  Defendant's Attorney: Salvatore Sciandra, Appointed
                                Thomas
    Date of Original Judgment:              October 31, 2016
    (Or Date of Last Amended Judgment)

   Reason for Amendment:
      Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                       Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
      Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b))        Modification of Imposed Term of Imprisonment for Extraordinary and
                                                                                     Compelling Reasons (18 U.S.C. § 3582(c)(1))
      Correction of Sentence by Sentencing Court (Fed R. Crim. P. 35(c))             Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
      Correction of Sentence for Clerical Mistake (Fed R. Crim. P. 36)               Direct Motion to District Court Pursuant to 28 U.S.C. §2255,
                                                                                          18 U.S.C. §3559(c)(7),    Modification of Restitution Order
  THE DEFENDANT:
        pleaded guilty to count 5 of the Indictment.
        pleaded nolo contendere to count(s)     which was accepted by the court.
        was found guilty on count(s)    after a plea of not guilty.
  ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                  Date Offense                                 Count
  Title & Section            Nature Of Offense
                                                                                                  Concluded                                    Number
                                  Conspiracy to Possess Methamphetamine With Intent to                                  April 24, 2014,
   21 U.S.C. §§ 846 and 841(a)(1) Distribute                                                                            through May 7,         FIVE
                                  (Class C Felony)                                                                      2014

         The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
  Sentencing Reform Act of 1984.

        The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
        Count 4 is dismissed on the motion of the United States.
        Indictment is to be dismissed by District Court on motion of the United States.
        Appeal rights given.                             Appeal rights waived.

          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
  change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
  fully paid. If ordered to pay restitution or fine, the defendant must notify the court and United States Attorney of material changes in
  economic circumstances.
                                                                                   10/31/2016
                                                                                   Date of Imposition of Judgment
                                                                                   /s/ Lawrence J. O'Neill
                                                                                   Signature of Judicial Officer
                                                                                   Lawrence J. O'Neill, United States District Judge
                                                                                   Name & Title of Judicial Officer
                                                                                   11/21/2016
                                                                                   Date
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  AO 245B­CAED(Rev. 09/2011) Sheet 4 ­ Probation
  DEFENDANT:CHARLOTTE MILLER                                                                                                        Page 2 of 6
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                                                              PROBATION
   The defendant is hereby sentenced to probation for a term of:
   5 Years.

   The defendant shall not commit another federal, state or local crime.

   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
   substance. The defendant shall submit to one drug test within 15 days of release on probation and at least two (2) periodic drug tests
   thereafter, not to exceed four (4) drug tests per month.

         The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
         abuse.

         You must cooperate in the collection of DNA as directed by the probation officer.

         You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside,
         work, are a student, or were convicted of a qualifying offense.

         You must participate in an approved program for domestic violence.

         You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664.

   If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
   accordance with the Schedule of Payments sheet of this judgment.

   The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
   conditions on the attached page.
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  AO 245B­CAED(Rev. 09/2011) Sheet 4 ­ Probation
  DEFENDANT:CHARLOTTE MILLER                                                                                                         Page 3 of 6
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                                         STANDARD CONDITIONS OF SUPERVISION
  As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed
  because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
  probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1.        You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
             release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
             different time frame.
   2.        After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about
             how and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3.        You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
             permission from the Court or the probation officer.
   4.        You must answer truthfully the questions asked by the probation officer.
   5.        You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
             living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
             change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
             probation officer within 72 hours of becoming aware of a change or expected change.
   6.        You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
             officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7.        You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
             you from doing so. If you do not have full­time employment, you must try to find full­time employment, unless the
             probation officer excuses you from doing so. If you plan to change where you work or anything about your work (such as
             your position or your job responsibilities), you must notify the probation officer at least 10 days before the change. If
             notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must
             notify the probation officer within 72 hours of becoming aware of a change or expected change.
   8.        You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
             been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
             permission of the probation officer.
   9.        If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10.       You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
             that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as
             nunchakus or tasers).
   11.       You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
             without first getting the permission of the Court.
   12.       If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
             may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
             contact the person and confirm that you have notified the person about the risk.
   13.       You must follow the instructions of the probation officer related to the conditions of supervision.
                                                     U.S. Probation Office Use Only
  A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
  judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
  Release Conditions, available at: www.uscourts.gov.

  Defendant's Signature _____________________________ Date _________________
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  AO 245B­CAED(Rev. 09/2011) Sheet 4 ­ Probation
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                                            SPECIAL CONDITIONS OF PROBATION
   1.        The defendant shall submit to the search of her person, property, home, and vehicle by a United States probation officer, or
             any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
             suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
             any other residents that the premises may be subject to searches pursuant to this condition.
   2.        The defendant shall provide the probation officer with access to any requested financial information.
   3.        As directed by the probation officer, the defendant shall participate in an outpatient correctional treatment program to
             obtain assistance for drug or alcohol abuse.
   4.        As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat patch,
             etc.) to determine if she has reverted to the use of drugs or alcohol.
   5.        The defendant shall not possess or have access to any cellular phone without the advance permission of the probation
             officer. The defendant shall provide all billing records for such devices, whether used for business or personal, to the
             probation officer upon request.
   6.        The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places where alcohol is the
             chief item of sale.
   7.        As directed by the probation officer, the defendant shall participate in a program of outpatient mental health treatment.
   8.        The defendant shall complete 1 hour of community service.
   9.        As directed by the probation officer, the defendant shall participate in a co­payment plan for treatment or testing and shall
             make payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.
   10.       The defendant shall register, as required in the jurisdiction in which he resides, as a drug offender.
   11.       The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer.
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  AO 245B­CAED(Rev. 09/2011) Sheet 5 ­ Criminal Monetary Penalties
  DEFENDANT:CHARLOTTE MILLER                                                                                                       Page 5 of 6
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                                                CRIMINAL MONETARY PENALTIES

             The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                       Assessment                            Fine                    Restitution
             TOTALS                                      $100.00                           $Waived
         The determination of restitution is deferred until          . An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
         victims must be paid before the United States is paid.

   Name of Payee                                              Total Loss*         Restitution Ordered Priority or Percentage
   Totals                                                     $____                    $____
         Restitution amount ordered pursuant to plea agreement $

         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
         may be subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                 The interest requirement is waived for the             fine         restitution

                 The interest requirement for the            fine         restitution is modified as follows:


         If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
         through the Bureau of Prisons Inmate Financial Responsibility Program.

         If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
         shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
  on or after September 13, 1994, but before April 23, 1996.
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  AO 245B­CAED(Rev. 09/2011) Sheet 6 ­ Schedule of Payments
  DEFENDANT:CHARLOTTE MILLER                                                                                                          Page 6 of 6
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                                                        SCHEDULE OF PAYMENTS
             Payment of the total fine and other criminal monetary penalties shall be due as follows:

   A.                Lump sum payment of $      100.00        due immediately, balance due
                            Not later than      , or
                            in accordance              C,         D,           E,or          F below; or
   B.                Payment to begin immediately (may be combined with                    C,         D,   or   F below); or

   C.                Payment in equal    (e.g. weekly, monthly, quarterly) installments of $      over a period of        (e.g. months or
                     years), to commence    (e.g. 30 or 60 days) after the date of this judgment; or

   D.                Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                     years), to commence    (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

   E.                Payment during the term of supervised release/probation will commence within       (e.g. 30 or 60 days) after release
                     from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                     that time; or

   F.                Special instructions regarding the payment of crimimal monetary penalties:

   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
   due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
   Inmate Financial Responsibility Program, are made to the clerk of the court.

   The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

             Joint and Several

   Defendant and Co­Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
   and corresponding payee, if appropriate:

             The defendant shall pay the cost of prosecution.

             The defendant shall pay the following court cost(s):

             The defendant shall forfeit the defendant's interest in the following property to the United States:

   Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
   (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
